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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 17-62091-CIV-DIMITROULEAS

  PABLO LUGO,
  on behalf of himself and all others
  Similarly situated,

         Plaintiff,
  v.

  EDDISONS FACILITY SERVICES, LLC
  a Florida Limited Liability Company; EDS
  SERVICE SOLUTIONS, LLC; a Delaware
  Limited Liability Company; and
  EDDISONS FACILITIES SERVICES
  LIMITED, a Foreign Corporate Body of the
  Republic of Ireland,

        Defendants.
  _____________________________________/

                          ORDER DENYING, WITHOUT PREJUDICE,
                      DISMISSAL OF DEFENDANT EDDISONS FACILITIES

         THIS CAUSE is before the Court on the Notice of Voluntary Dismissal [DE 12] (the

  “Notice”), filed herein on December 12, 2017. The Court has carefully considered the Notice and

  is otherwise fully advised in the premises.

          In the above-styled case, Plaintiff alleges that the Defendants violated the Fair Labor

  Standards Act (“FLSA”), and therefore any settlement agreement must be approved by the Court.

  See Lynn=s Food Stores, Inc. v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982).

  Accordingly, the Court mandates that any voluntary dismissal or stipulation of dismissal will

  require the parties to submit a settlement agreement for judicial review and approval. Further, the

  Court finds that in order to effectuate the Eleventh Circuit’s requirement dictated by Lynn=s Food,

  even dismissals without prejudice require the Court to review any settlement agreement that has
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  been reached by the parties. See Lynn=s Food, 679 F.2d at 1352 (“Congress made the FLSA’s

  provisions mandatory; thus, the provisions are not subject to negotiation or bargaining between

  employers and employees.”).

           Here, Plaintiff has not stated whether there is any such settlement agreement underlying

  the sought-after dismissal of Defendant Eddisons Facilities Services Limited.1

           Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

      1. The Stipulation [DE 12] is DENIED without prejudice and is ineffective in dismissing

           this action against Defendant Eddisons Facilities Services Limited;

      2. Plaintiff may refile the Stipulation, including a statement that there is no settlement

           agreement or by including the terms of any settlement agreement if one exists, on or before

           December 19, 2017.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  12th day of December, 2017.




           1 The Court recognizes that there may be situations in which the plaintiff chooses to voluntarily dismiss the
  case, even if there has been no settlement or compromise.

                    (1)      In that event, the court will require the notice of voluntary dismissal to affirmatively state
                             that (a) no settlement agreement has been reached, and (b) the plaintiff has voluntarily
                             chosen to abandon the FLSA claims at this time.

                    (2)      The Court will construe such a dismissal to be without prejudice, regardless of the
                             language used in the notice. Plaintiff will be able to re-file or otherwise pursue the claim
                             in the future, subject to the statute of limitations.
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  Copies furnished to:

  Counsel of record
